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                            IN THE UNITED STATES COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                              ABINGDON DIVISION


   UNITED STATES OF AMERICA,

          Plaintiff
   v.                                                 CASE NO.: 1:18CR00025

   SUSAN NICOLE PAYNE,

          Defendant.


                                              ORDER

          Upon motion by the government and for good cause shown, it is hereby ORDERED that

   the Defendant’s Response to Motion for Resentencing in the above-captioned case will be filed

   under seal.



          ENTERED: April 15, 2020.



                                              /s/ James P. Jones
                                              United States District Judge
